                                       Exhibit 6

               Documentary Exhibits [State of Michigan Privilege Log]




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